          Case 1:19-cv-00545-JHR-JFR Document 8 Filed 07/22/19 Page 1 of 6



                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

KYLE BEEBE,

                          Plaintiff,
vs.                                                            CIVIL NO. 1:19-cv-00545-JHR-JFR

JOHN TODD,

                          Defendant.


              JOINT STATUS REPORT AND PROVISIONAL DISCOVERY PLAN

         Pursuant to FED. R. CIV. P. 26(f), a telephonic meeting was held on July 11, 2019 at 10:00

a.m. MST and was attended by:

         Timothy White for Plaintiff; and

         Elizabeth G. Perkins for Defendant

                                       NATURE OF THE CASE

         This personal injury tort case arises from an automobile accident on May 5, 2016 between

Kyle Beebe and John Todd. Mr. Beebe alleges Mr. Todd pulled out in front of him as he was

travelling southbound on US Hwy 550. The front of Mr. Beebe’s truck collided with the driver’s side

of Mr. Todd’s truck.

                 AMENDMENTS TO PLEADINGS AND JOINDER OF PARTIES

         Plaintiff intends to file:

         Plaintiff(s) should be allowed until ________ to move to amend the pleadings and until

_______ to join additional parties in compliance with the requirements of Fed. R. Civ. P. 15(a).

         Defendant intends to file:

      1. None at this time

         Defendants(s) should be allowed until ________ to move to amend the pleadings and until

________ to join additional parties in compliance with the requirements of Fed. R. Civ. P. 15(a).

                                                                              Version 3: December 2009
       Case 1:19-cv-00545-JHR-JFR Document 8 Filed 07/22/19 Page 2 of 6



                                         STIPULATIONS

       The parties hereto stipulate and agree that venue is properly laid in this District; that the

United States District Court for the District of New Mexico has jurisdiction of the parties and the

subject matter.

       The parties are willing to further stipulate to the following facts:

   1. Any fact admitted in the pleadings

The parties further stipulate and agree that the law governing this case is New Mexico.


                                PLAINTIFF'S CONTENTIONS:

         Plaintiff Kyle Beebe contends that Defendant John Todd is responsible for the physical
injuries to himself and his vehicle and emotional distress caused by Defendant John Todd’s
failure to yield when turning out of a private drive.

                               DEFENDANT'S CONTENTIONS:

        John Todd contends Kyle Beebe was not injured in the motor vehicle accident on May 5,
2019. Mr. Todd contends Mr. Beebe’s alleged injuries are the result of a pre-existing condition
or alternate cause and not a result of any negligence by Mr. Todd. Mr. Todd further contends the
accident on May 5, 2019, may have been the result of some negligence by Mr. Beebe.

                              PROVISIONAL DISCOVERY PLAN

       The parties jointly propose to the Court the following discovery plan: (Use separate

paragraphs or subparagraphs as necessary if parties disagree.)

 List all witnesses who, at this time, you think will either testify or be deposed, giving their
 name, title, address and a brief summary of their testimony. It is insufficient to list witnesses’
 addresses, save for clients, “in care of counsel.”

 List all documents which you believe, at this time, will be exhibits at the trial.

 List all experts who you believe, at this time, will testify at the trial, giving their name, address,
 area of expertise, and a brief summary of the anticipated testimony.




                                                   2
                                                                               Version 3: December 2009
        Case 1:19-cv-00545-JHR-JFR Document 8 Filed 07/22/19 Page 3 of 6



       Discovery will be needed on the following subjects: (Brief description of subjects on

which discovery will be needed.)

   1. Plaintiff’s alleged damages

   2. Any and all subjects that come to light through depositions, interrogatories, and requests
      for production.

Plaintiff:

   A. Witnesses

       1.     Kyle Beebe
              c/o Valdez and White Law Firm, LLC
              P.O. Box 25646
              Albuquerque, NM 87125


       2.     John Todd
              c/o Chapman and Priest, P.C.
              4100 Osuna Rd NE
              Albuquerque, NM 87109

   B. Exhibits

       1.     State of New Mexico Uniform Crash Report #30161433

   C. Experts

Defendant:

   A. Witnesses

       1.     Kyle Beebe
              c/o Valdez and White Law Firm, LLC
              P.O. Box 25646
              Albuquerque, NM 87125

              Mr. Beebe will testify as to his knowledge of the accident that forms the subject
              of this lawsuit and his alleged damages.

       2.     John Todd
              c/o Chapman and Priest, P.C.
              4100 Osuna Rd NE
              Albuquerque, NM 87109

                                               3
                                                                          Version 3: December 2009
        Case 1:19-cv-00545-JHR-JFR Document 8 Filed 07/22/19 Page 4 of 6




                  Mr. Todd will testify as to his knowledge of the accident that forms the subject of
                  this lawsuit.

        3.        Robert Jordan
                  c/o WPX Energy
                  721 S Main Ave
                  Aztec, NM 87410

                  Mr. Jordan may have information regarding Mr. Beebe’s physical condition after
                  the accident at issue in this case.

        4.        Plaintiff’s medical providers. Providers are expected to have information
                  regarding Mr. Beebe’s alleged injuries, medical treatment, and physical condition
                  after the accident at issue in this case to the present.

        5.        Any expert(s) identified by Plaintiff.

        6.        Appropriate rebuttal witnesses and expert witnesses.

    B. Exhibits

        1.        Any documents produced by Plaintiff

        2.        Recorded statements

    C. Experts

        1.        Undetermined

        Maximum of 25 interrogatories by each party to any other party. (Responses due 30 days

after service).

        Maximum of 25 requests for admission by each party to any other party. (Response due

30 days after service).

        Maximum of 10 depositions by Plaintiff(s) and 10 by Defendant(s).

        Each deposition (other than of parties and experts) limited to maximum of 4 hours unless

extended by agreement of parties.




                                                    4
                                                                              Version 3: December 2009
        Case 1:19-cv-00545-JHR-JFR Document 8 Filed 07/22/19 Page 5 of 6



        Reports from retained experts under Rule 26(a)(2) due:

                  from Plaintiff(s) by ________________________________

                  from Defendant(s) by ______________________________

        Supplementation under Rule 26(e) due _______________________ (set time(s) or

interval(s)).

        All discovery commenced in time to be complete by ________. Discovery on (issue for

early discovery) to be completed by _____________________.

        Other Items: (Use separate paragraphs or subparagraphs as necessary if other parties

disagree.)

                                         PRETRIAL MOTIONS

        Plaintiff intends to file:

        1.        Unknown at this time

        Defendant intends to file:

        1.        Dispositive motions

                                        ESTIMATED TRIAL TIME

        The parties estimate trial will require 3 days.

        ____ This is a non-jury case.

             X   This is a jury case.

        The parties request a pretrial conference in _______________________.

                                            SETTLEMENT

        The possibility of settlement in this case is considered: cannot be evaluated prior to

discovery and may be enhanced by use of the following alternative dispute resolution procedure:

settlement conference. The parties request a settlement conference as scheduled by the court.


                                                  5
                                                                             Version 3: December 2009
Case 1:19-cv-00545-JHR-JFR Document 8 Filed 07/22/19 Page 6 of 6



                                 EXCEPTIONS

(Where counsel cannot agree to any recitation herein, exceptions shall be listed.)



                                      APPROVED WITHOUT EXCEPTIONS


                                      /s/Timothy L. White______________
                                      For Plaintiff

                                      /s/Elizabeth G. Perkins ____________
                                      For Defendant




                                         6
                                                                    Version 3: December 2009
